                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                   KNOXVILLE – COURTROOM 3A

    Case #: 3:22-mj-2126                                                  Date: July 18, 2022

                  United States of America           vs. Mark Thomas Reno

        3UHVHQWEHIRUH Honorable Jill McCook, United States Magistrate Judge

        Mallory Dahl              ECRO                                     Travis Worthington
        Deputy Clerk              Court Reporter                           Probation Officer


        Casey Arrowood            Sarah Olesiuk
        $VVW86$WW\           $WWRUQH\ V IRU'HIHQGDQW V              $WWRUQH\ V IRU'HIHQGDQW V &RQWG

              Proceedings: Parties present for an initial appearance on a FULPLQDOFRPSODLQW
         ✔ Defendant sworn.
         ✔ Defendant requested appointment of counsel and submitted financial affidavit.
         ✔ Court approved financial affidavit and appointed counsel
           Defendant present with retained counsel.
         ✔ Government requested detention of the defendant:
                   Defendant waived and reserved the right to a detention hearing.
                ✔ Defendant requested detention hearing.
                                  ✔ Detention hearing set.        Detention hearing held.
           Parties agreed to conditions on which the defendant could be released.
         ✔ Defendant requested a preliminary hearing
                                      Preliminary hearing held. ✔ Preliminary hearing set.
           'HIHQGDQWZDLYHGDQGUHVHUYHGULJKWWRDSUHOLPLQDU\KHDULQJ
         ✔ &DVHXQGHUVHDODVWRGHIHQGDQW V 
                          8QVHDOHGXSRQJUDQWLQJRIPRWLRQE\$86$7RUHPDLQXQGHUVHDO
                                 X
Dates set at this hearing:
✔   Detention Hearing: 
                       7/21/2022 at 11:00 a.m. before USMJ McCook
✔   Preliminary Hearing: 7/29/2022 at 10:00 a.m. before USMJ McCook
    $UUDLJQPHQW+HDULQJ
    2WKHU+HDULQJ
    ✔   Defendant remanded to custody.      Defendant released on Order Setting Conditions of Release.

    Time: 2:30 p.m.            2:45 p.m.

    IMallory Dahl     , Deputy Clerk, CERTIFY the official record of this proceeding is
    an audio file. Knox-DCR_ 322mj2126 _ 071822 _
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